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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. CR-S-11-190 MCE
                                                      )
11                                                    )
               Plaintiff,                             )       STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       FINDINGS
     NICHOLAS RAMIREZ, et al.,                        )
14                                                    )       Date: June 26, 2014
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
17
               The United States of America through its undersigned counsel, Jason Hitt, Assistant
18

19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,

20   Esq. hereby stipulate to the following:
21
          1. By previous order, this matter was set for status conference on June 26, 2014.
22
          2. By this stipulation, Manuel Keith now moves to continue the status conference until
23

24
     August 21, 2014 and to exclude time between June 26, 2014 and , August 21, 2014 under the

25   Local Code T-2 and T-4.
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          3.   The parties agree and stipulate, and request the Court find the following:
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            a.       This case was the product of a lengthy investigation in which wiretaps were
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 2   utilized on multiple telephones. The government has produced discovery which to date includes

 3   1,952 pages containing wiretap applications, periodic reports, and investigative materials.
 4
     Additionally, the government has provided defense counsel with voluminous wiretap
 5
     conversations. Counsel for the government and for defendant have been engaged in plea
 6

 7
     negotiations, which, to date, have not resulted in an agreement. However, both counsel are

 8   hopeful a mutually acceptable resolution may be achieved. Therefore, a continuance will
 9   provide the government and defense counsel the needed time to negotiate and hopefully, finalize
10
     a plea agreement. Further, counsel for Mr. Keith is in trial in a murder case in Sacramento
11
     County Superior Court and will probably not be physically available to attend the status
12

13   conference on the date now set with the trial scheduled to last through July.

14          b.       The Government does not object to the continuance.
15
            c.       Based on the above-stated findings, the ends of justice served by granting the
16
     requested continuance outweigh the best interests of the public and the defendant in a speedy
17
     trial within the original date prescribed by the Speedy Trial Act.
18

19          d.       For the purpose of computing time under the Speedy Trial Act, 18 United States

20   Code Section 3161(h)(7)(A) within which trial must commence, the time period of June 26, 2014
21
     through August 21, 2014 inclusive, is deemed excludable pursuant to 18 United States Code
22
     Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local Code T-2 and T-4 because it
23

24
     results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

25   finding that the ends of justice served by taking such action outweigh the best interest of the
26   public and the defendant in a speedy trial.
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        4.          Nothing in this stipulation and order shall preclude a finding that other provisions
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 2   of the Speedy Trial Act dictate that additional time periods are excludable from the period within

 3   which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6   DATED:         June 25, 2014                 BENJAMIN WAGNER
                                                  United States Attorney
 7

 8
                                                           /s/ Jason Hitt

 9                                                by
                                                           Jason Hitt
10                                                         Assistant U.S. Attorney
11
                                                           by Jan David Karowsky
                                                           w/ Mr. Hitt’s consent
12

13
     DATED:         June 25, 2014                 JAN DAVID KAROWSKY
14                                                Attorney at Law
                                                  A Professional Corporation
15
                                                           /s/ Jan Karowsky
16

17                                                by
                                                           JAN DAVID KAROWSKY
18                                                         Attorney for Defendant
                                                           Manuel Keith
19

20
                                                  ORDER
21

22           IT IS SO ORDERED.

23
     Dated: June 25, 2014

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